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         Attorneys for Defendant JPMorgan Chase Bank, N.A.


                               IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                         EUGENE DIVISION

Dennis Raybould,

                                   Plaintiff,                         Case No. 6:19-cv-01364-AA

         v.                                                           REQUEST FOR JUDICIAL NOTICE

RUSHMORE LOAN MANAGEMENT
SERVICES, LLC;

JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION, WHOSE ADDRESS IS 700
Kansas Lane, MC 8000, MONROE, LA 71203,
(ASSIGNOR),
RMAC TRUST, SERIES 2016-CTT,

U.S. BANK NATIONAL ASSOCIATION,
NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS TRUSTEE FOR THE RMAC
TRUST, SERIES 2016-CTTT, whose address is
60 LIVINGSTON AVENUE, ST. PAUL, MN
55107-2292, ITS SUCCESSORS AND
ASSIGNS, (ASSIGNEE)

                                   Defendants.




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                                                  DAVIS WRIGHT TREMAINE LLP
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                               LR 7-1 CERTIFICATE OF COMPLIANCE
         Counsel for Defendant JPMorgan Chase Bank, N.A. (“Chase”) attempted to contact pro

se plaintiff Dennis Raybould in a good faith effort to confer regarding the subject of this motion,

as required under Local Rule 7-1. On September 11, 2019, September 12, 2019, and September

13, 2019, counsel called the phone number listed on plaintiff’s complaint, (541) 997-1311, and

all three times received a message saying that number has been disconnected or is no longer in

service. On both September 11, 2019 and September 12, 2019, counsel also emailed plaintiff at

the most recent email address counsel has for plaintiff stating the basis for the request and asking
plaintiff to call counsel or to provide a functioning phone number so that counsel could speak

with plaintiff to confer, but counsel has received no response.

                                   REQUEST FOR JUDICIAL NOTICE

         Chase respectfully requests this Court to take Judicial Notice under Federal Rule of

Evidence (“FRE”) 201 of the following documents, which are attached to the concurrently filed

Declaration of Kevin H. Kono in Support of Request for Judicial Notice (“Kono Decl.”).

         1.        A recorded deed of trust dated February 1, 2006, under which Dennis Raybould

and Diane Raybould granted a security interest to Chase Bank USA, N.A. in real property

located at 88915 Bay Berry Lane, Florence, OR 97431, to secure loan obligations under the

$237,600 note referenced therein. Kono Decl., Ex. 1.
         2.        The complaint filed in Oregon state court and removed to this Court in Raybould

v. JP Morgan Chase Bank, N.A., United States District Court for the District of Oregon, Case

No. 6:12-cv-01198-PA. Kono Decl., Ex. 2.

         3.        The complaint filed in Oregon state court and removed to this Court in Raybould

v. JP Morgan Chase Bank, N.A., United States District Court for the District of Oregon, Case

No. 6:13-cv-01966-TC. Kono Decl., Ex. 3.




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          4.       The Order Affirming Judgment filed in Raybould v. JP Morgan Chase Bank,

N.A., United States Court of Appeal for the Ninth Circuit, Case No. 15-35158. Kono Decl.,

Ex. 4.

          5.       The docket in JPMorgan Chase Bank, National Association v. Raybould, et al., in

the Circuit Court for the State of Oregon for the County of Lane, Case No. 15CV14566 (the

“State Court Action”). Kono Decl., Ex. 5.

          6.       The complaint in the State Court Action. Kono Decl., Ex. 6.

          7.       The Second Amended Answer, Affirmative Defenses and Amended
Counterclaims and Third-Party claims filed by plaintiff in the State Court Action. Kono Decl.,

Ex. 7.

          8.       The Order granting JPMorgan Chase Bank, N.A. and counter-defendants Chase

Bank USA, N.A. and Chase Home Finance LLC’s Motions to Dismiss and to Strike Counter-

Plaintiffs’ Counterclaims and Defenses in the State Court Action, without leave to amend. Kono

Decl., Ex. 8.

          9.       The Order of Default entered in the State Court Action. Kono Decl., Ex. 9.

          10.      The Limited Judgment of Dismissal entered in the State Court Action. Kono

Decl., Ex. 10.
          11.      JPMorgan Chase Bank, N.A.’s Motion for Summary Judgment filed in the State

Court Action. Kono Decl., Ex. 11.

          12.      Plaintiff’s opposition to JPMorgan Chase Bank, N.A.’s Motion for Summary

Judgment filed in the State Court Action. Kono Decl., Ex. 12.

          13.      The Order granting JPMorgan Chase Bank, N.A.’s motion for summary judgment

in the State Court Action. Kono Decl., Ex. 13.

          14.      Plaintiff’s Adversary Complaint in Adversary Proceeding No. 17-06057-tmr, filed

in the United States Bankruptcy Court for the District of Oregon, Eugene Division. Kono Decl.,

Ex. 14.
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         15.       The docket in Raybould v. Rushmore Loan Management Services LLC, et al., in

the Circuit Court for the State of Oregon for the County of Lane, Case No. 19CV30797. Kono

Decl., Ex. 15.

                                             ARGUMENT

         FRE 201 empowers the Court to take judicial notice of facts “capable of accurate and

ready determination by resort to sources whose accuracy cannot reasonably be questioned.” FRE

201(b)(2). The Court “must take judicial notice if a party requests it and the court is supplied

with the necessary information.” FRE 201(c)(2) (emphasis added). Judicial notice may be taken
at any stage of the proceedings. FRE 201(d).

         “Federal Rule of Evidence 201 allows the court to take judicial notice of orders and

decisions made by other courts or administrative agencies.” Rogers v. Qwest Corp., 2007 WL

1187986, *4 (D. Or. 2007) (citing Papai v. Harbor Tug and Barge Co., 67 F.3d 203, 207 n.5 (9th

Cir. 1995), reversed on other grounds, 520 U.S. 548 (1997)). Judicial notice of “undisputed

matters of public record” and “documents on file in federal or state courts” is also proper. Harris

v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012); see also MGIC Indem. Corp. v.

Weisman, 803 F.2d 500, 504 (9th Cir. 1986) (taking judicial notice of a motion to dismiss

together with a supporting memorandum filed in a separate matter); Reyn’s Pasta Bella, LLC v.
Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (“We may take judicial notice of court

filings and other matters of public record.”). The Court may take judicial notice of and consider

matters of public record “without being required to convert the Rule 12(b)(6) motion into a

motion for summary judgment under Rule 56.” Rose v. JP Morgan Chase Bank, N.A., 835 F.

Supp. 2d 1014, 1018 (D. Or. 2011) (citing Lee v. City of Los Angeles, 250 F.3d 668, 688-89

(9th Cir. 2001)).

         Judicial notice of the documents listed above is appropriate as they all appear in the

public record as publicly recorded documents or as documents filed in a public court proceeding.

These documents can be judicially noticed because they are public records, recorded by a public
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body or contained in a public court file as part of public court proceedings, and their authenticity

cannot be contested. The Court therefore should take judicial notice of the requested documents.

See, e.g. Schwartz v. Christiana Trust, 2016 WL 3512441, *2 (D. Or. 2016) (taking judicial

notice of a deed of trust and noting that FRE 201 “encompasses publically recorded property

records”); Paulson v. Fairway Am. Corp., 2015 WL 588851, *2 (D. Or. 2015) (taking judicial

notice of “the docket sheets, pleadings, briefs, orders, and other documents filed as part of the

official record in prior actions filed by or against Plaintiff.”).

         DATED this 13th day of September, 2019.

                                        DAVIS WRIGHT TREMAINE LLP



                                        By s/ Kevin H. Kono
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                                    CERTIFICATE OF SERVICE

     I hereby certify that I served a copy of the foregoing REQUEST FOR JUDICIAL
NOTICE on:

                   Dennis Raybould
                   P.O. Box 241
                   Florence, OR 97431
                   (541) 997-1311
                   Plaintiff in Pro Se


              by causing to be mailed a copy thereof in a sealed, first-class postage prepaid
envelope, addressed to said party’s last-known address and deposited in the U.S. mail at
Portland, Oregon on the date set forth below;

               by sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to said party’s last-known address on the date set forth below; and/or

                   by emailing a copy thereof to said party at his/her last-known email address as set
forth above.
         Dated this 13th day of September, 2019.

                                         DAVIS WRIGHT TREMAINE LLP



                                         By: s/ Kevin H. Kono
                                            Kevin H. Kono, OSB #023528
                                            Ashlee Aguiar, OSB #171940
                                            Of Attorneys for Defendant JPMorgan Chase Bank,
                                            N.A.




Page 1 - CERTIFICATE OF SERVICE
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